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8                          UNITED STATES DISTRICT COURT
9                       SOUTHERN DISTRICT OF CALIFORNIA
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11    WESTERN ALLIANCE BANK                      Case No.: 20cv1166-LAB (MSB)
12                                Plaintiff,
                                                 ORDER OF DISMISSAL
13    v.
14    GERALD D. MEDINA, et al.
15                            Defendants.
16
17         Plaintiff has filed a notice of dismissal, and Defendants have not answered
18   or otherwise appeared. Pursuant to Fed. R. Civ. P. 41(a), this action is therefore
19   DISMISSED WITHOUT PREJUDICE.
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21         IT IS SO ORDERED.
22   Dated: January 8, 2021
23
24                                             Honorable Larry Alan Burns
                                               Chief United States District Judge
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